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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 STANDING ROCK SIOUX TRIBE;
 YANKTON SIOUX TRIBE; ROBERT
 FLYING HAWK; OGLALA SIOUX
 TRIBE,
                                      Plaintiffs,
 and
 CHEYENNE RIVER SIOUX TRIBE,
                           Intervenor Plaintiff,        Case No. 1:16-cv-01534-JEB

            v.
 U.S. ARMY CORPS OF ENGINEERS,
                                    Defendant,
 and
 DAKOTA ACCESS, LLC,
                         Intervenor Defendant.


                      STATUS REPORT OF DAKOTA ACCESS, LLC

       On May 21, 2021, the Court ordered a Joint Status Report, to be filed by today, “concerning

potential next steps in this litigation.” Dakota Access’s position on that topic is set forth below,

followed by a request for an opportunity to brief the issues raised by the various reports.

       The Court should terminate these cases by dismissing, without prejudice, any claims for

which judgment has not been granted. The Court vacated the easement for the Lake Oahe crossing

on July 6, 2020. D.E. 545. That was the Court’s remedy after it previously granted, in part,

Plaintiffs’ motions for summary judgment on claims that challenged the easement. D.E. 495. The

result of those two rulings is that no final agency action remains for the Court to review. The EIS
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process that the Corps expects to complete in March 2022 will yield a new agency action based on

an administrative record that the Corps has yet to complete.

       The D.C. Circuit has recognized that when a court orders a remand for new final agency

action, it has discretion to retain jurisdiction rather than dismiss. See Cobell v. Norton, 240 F.3d

1081, 1109 (D.C. Cir. 2001). But none of the special circumstances that might trigger retention of

jurisdiction is present here. See, e.g., id., at 1110 (decades-long agency failure to discharge its

fiduciary duties). Rather, that discretion “is typically reserved for cases alleging unreasonable

delay of agency action or failure to comply with a statutory deadline, or for cases involving a

history of agency noncompliance with court orders or resistance to fulfillment of its legal duties.”

Baystate Med. Ctr. v. Leavitt, 587 F. Supp. 2d 37, 41 (D.D.C. 2008) (citing cases). This court

should therefore follow “[t]he norm,” which is to remand to the agency “for further proceedings

consistent with the judicial decision, without retaining oversight over the remand proceedings.”

Id.

       Plaintiffs (or others, for that matter) may ultimately find fault with how the Corps has

conducted the yet-to-be-completed EIS process, and they may be dissatisfied with the result that

the Corps eventually reaches.      But “whether or not the agency’s” post-remand actions are

“arbitrary” or otherwise unlawful “is a determination that must be made in [a] separate APA action

challenging” the Corps’ “post-remand decisions.” Heartland Reg’l Med. Ctr. v. Leavitt, 415 F.3d

24, 30 (D.C. Cir. 2005). To retain jurisdiction would put the Court in the improper position of

overseeing claims that “are no longer ripe for review.” See Am. Wild Horse Preserv. Campaign v.

Salazar, 115 F. Supp. 3d 1, 4 (D.D.C. 2012) (declining to retain jurisdiction after a voluntary

remand to the agency); see also Trump v. New York, 141 S. Ct. 530, 534 (2020) (“A foundational

principle of Article III is that an actual controversy must exist not only at the time the complaint

is filed, but through all stages of the litigation.” (citation and internal quotation marks omitted)).

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       Even if the Court were to retain jurisdiction, it should deny Plaintiffs’ request for status

reports (monthly, or otherwise), especially given that the content Plaintiffs request in those reports

is not in furtherance of any claim or motion before this Court. The Court has ruled on Plaintiffs’

only post-remand motion (which sought, inter alia, an injunction). Plaintiffs’ relief is to appeal

that ruling if they are dissatisfied. Moreover, Plaintiffs were offered (and three of them have

accepted) cooperating agency status in the EIS process, giving them more than sufficient

information on the timing of that process. Status reports are unwarranted.

       The parties discussed keeping this filing short, consistent with it being a status report rather

than a motion or brief. And the parties are filing their positions simultaneously. Thus, if the Court

entertains the possibility of retaining jurisdiction or imposing any obligations (including status

reports) pending remand, Dakota Access requests an opportunity to brief those issues.


         Dated: June 11, 2021                                 Respectfully submitted,

                                                               /s/ William S. Scherman
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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 11th day of June, 2021, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                    /s/ William S. Scherman
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